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Dated: March 12th, 2018
Wilmington, Delaware                  MARY F. WALRATH
                                      UNITED STATES BANKRUPTCY JUDGE
